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11
                                 UNITED STATES DISTRICT COURT
12
                               EASTERN DISTRICT OF CALIFORNIA
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14   MICHAEL NEVEU,                              ) Case No. CIV-F-04-6490 OWW/JLD
                                                 )
15                         Plaintiff,            )     ORDER
                                                 )
16        v.                                     )
     MICHAEL GUTHRIE, individually; and          )
17   ROGER ENMARK, individually,                 )     Trial: November 27, 2007
                                                 )
18                         Defendants.           )
                                                 )
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20          This Order is to confirm the terms of a stipulated order that was placed on the
21   record before the Court on December 12, 2007, by counsel with the approval of their
22   respective clients who were present.
23          Based on the stipulation of the parties, the Court ORDERS, as follows:
24          1.     Defendants waive any recoverable costs within the meaning of 28 U.S.C.
25   § 1923 and any recoverable attorney’s fees under 42 U.S.C. § 1988 if they are the
26   prevailing parties;
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                                                                                          Order
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 1          2.     Plaintiff dismisses his claim for violation of the First Amendment based
 2   upon his memos and speech relating to Officer Mata with prejudice;
 3          3.     Plaintiff dismisses his punitive damage claim against the Defendants with
 4   prejudice;
 5          4.     Plaintiff dismisses his claims against Defendant West with prejudice;
 6          5.     Plaintiff waives any right to attorney’s fees that were incurred prior to the
 7   substitution of Mr. Baker in this lawsuit on September 10, 2007;
 8          6.     Plaintiff waives any right to appellate review of the judgment in favor of
 9   Defendants Dyer, Garner and the City of Fresno; and
10          7.     Plaintiff waives any right to appellate review of the Court’s summary
11   judgment order and the Court’s determination during the course of trial that Plaintiff
12   could not seek damages for the differential pay between the rank of sergeant and the
13   rank of police officer.
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15
16   Dated: December 27, 2007                                 /s/ OLIVER W. WANGER
                                                              OLIVER W. WANGER
17                                                            U.S. District Court Judge
                                                              Eastern District
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                                                  2                                             Order
